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 5    Attorneys for Plaintiff
      HAROUT AKOPIAN
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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      HAROUT AKOPIAN, individually and             Case No. 12-cv-08679-BRO-RZx
11    on behalf of other persons similarly
      situated,                                    STIPULATION OF DISMISSAL OF
12                                                 ACTION WITHOUT PREJUDICE
                          Plaintiff,
13                                                 [Filed concurrently with [Proposed]
                   vs.                             Order]
14
      VW CREDIT, INC., a Delaware                  Assigned to the Honorable
15    corporation; and DOES 1 through 10.          Beverly Reid O’Connell
16                        Defendants.
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           STIPULATION OF DISMISSAL OF ACTION WITHOUT PREJUDICE – Case No. 12-cv-08679-BRO-RZx
     Case 2:12-cv-08679-BRO-RZ Document 52 Filed 11/19/13 Page 2 of 2 Page ID #:393



 1                                         STIPULATION
 2
 3          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Civil L.R. 7-1,
 4    Plaintiff Harout Akopian and Defendant VW Credit, Inc. hereby stipulate to the
 5    dismissal of the above-titled action without prejudice. Each party shall bear his/its own
 6    costs and fees.
 7
            Dated: November 19, 2013          KARASIK LAW FIRM
 8
 9                                            By:       /s/ Gregory N. Karasik
10                                                      Gregory N. Karasik
                                                        Attorneys for Plaintiff Harout Akopian
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12
            Dated: November 19, 2013          REED SMITH LLP
13
14                                            By:       /s/ Feather D. Baron
                                                        Feather D. Baron
15                                                      Attorneys for Defendant VW Credit, Inc.
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           STIPULATION OF DISMISSAL OF ACTION WITHOUT PREJUDICE – Case No. 12-cv-08679-BRO-RZx
